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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

                          TRUSTEE’S SUPPLEMENTAL REPORT
                    FOLLOWING MOTION TO CONVERT TO CHAPTER 7


       CASE NO.   A19-67578-PWB                   JUDGE, BONAPFEL
       DEBTOR(S): SHEENA BLACKWELL YOUNG          DATE: MAY 6, 2022


             BRANDI L. KIRKLAND REPORT BACK

             WHETHER THE DEBTOR(S) PLAN PAYMENTS ARE CURRENT.

             THE TRUSTEE HAS REVIEWED THE CASE AS INSTRUCTED AND

             RECOMMENDS THE CASE BE CONVERTED TO CHAPTER 7 BECAUSE
             THE DEBTOR HAS DEFAULTED UNDER THE TERMS OF THE ORDER
             OF MAY 6, 2022 REQUIRING REGULAR AND TIMELY PLAN
             PAYMENTS.

             PLEASE ENTER AN ORDER CONVERTING CHAPTER 13 CASE TO
             ONE UNDER CHAPTER 7. PURSUANT TO 11 U.S.C. SECTION
             1307 SUBMITTED HEREWITH.

             October 18, 2022

                                          /s/
                                BRANDI L. KIRKLAND, ATTORNEY
                                STATE BAR NO. 423627




       K. Edward Safir, Chapter 13 Trustee
       285 Peachtree Center Ave., NE
       Suite 1600
       Atlanta, GA 30303
       (404) 525-1110
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                              CERTIFICATE OF SERVICE


            This is to certify that on this day I caused a copy
       of the foregoing pleading to be served via United States
       First Class Mail, with adequate postage thereon, on the
       following parties at the address shown for each:

       SHEENA BLACKWELL YOUNG
       3304 QUICK WATER LANDING, NW
       KENNESAW, GA 30144

       I further certify that I have on this day electronically
       filed the pleading using the Bankruptcy Court's Electronic
       Filing program, which sends a notice of this document and
       an accompanying link to this document to the following
       parties who have appeared in this case under the
       Bankruptcy Court's Electronic Case Filing program:

       CLARK & WASHINGTON, PC

       This 18th day of October, 2022

                   /s/          ____
       BRANDI L. KIRKLAND, ATTORNEY
       STATE BAR NO. 423627




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